Case 1:19-cv-03216-AT-SDA Document 68 Filed 08/10/20 Page of 2)... ¢ of

USDC SDNY
DOCUMENT

ELECTRONICALLY FILED

UNITED STATES DISTRICT COURT DOC #: —___
SOUTHERN DISTRICT OF NEW YORK DATE FILED: 8/10/2020 _

 

 

LUIS A. HERRERA,
STIPULATION AND

Plaintiff, ORDER OF DISMISSAL
-against- 19 Civ. 3216 (AT) (SDA)

CITY OF NEW YORK, COMMISSIONER JAMES P.
O'NEILL, UNDERCOVER UC 00084, STEVEN BANKS,
LIEUTENANT WASHINGTON ZURITA, POLICE
OFFICER EVANS BELLAVOIKX, POLICE OFFICER
ANTHONY ASSENT, POLICE OFFICER LOGAN
PAYANO, SERGEANT JASON STOCKER, POLICE
OFFICER SEAN BROWN, POLICE OFFICER JAWUAN
HUBBARD, DETECTIVE SEAN HAGGERTY, POLICE
OFFICER KYLE CREVATAS, DETECTIVE RICARDO
MANTILLA, POLICE OFFICER CRYSTAL ROMERO,

Defendants.

 

WHEREAS, the parties have reached a settlement agreement and now desire to
resolve the remaining issues raised in this litigation, without further proceedings and without
admitting any fault or liability;

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
and between the undersigned, that

1. The above-referenced action is hereby dismissed with prejudice.

[THE REMAINDER OF THIS PAGE HAS INTENTIONALLY BEEN LEFT BLANK]
Case 1:19-cv-03216-AT-SDA Document 68 Filed 08/10/20 Page 2 of 2

Dated: New York, New York
, 2020

Luis A. Herrera

Plaintiff Pro Se

794 Snediker Avenue, Apt. 2F
Brooklyn, NY 11207

ae

Luis A. Herrera
Plaintiff Pro Se

JAMES E. JOHNSON

Corporation Counsel of the

City of New York

Attorney for Defendants

100 Church Street, 3™ Floor
‘Qyeoii New Ye 10007

OPW Dewey

 

Stephanie De Angelis
Assistant Corporation Counsel

SO ORDERED:

Or

ANALISA TORRES
United States District Judge

Dated: August 10 , 2020
